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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


                                             Case No. 1lcr-OO315 (WHW)
 UNITED STATES OF AMERICA,

                        vs.
                                                       CONTINUANCE AND
 MITCHELL KURLANDER and
                                                       SCHEDULING ORDER
 ALAN ABESHAUS,

                        Defendants.


         THIS MATTER having been opened to the Court upon the joint application of the United

 States of America (Assistant U.S. Attorney Eric T. Kanefsky appearing) and defendant Mitchell

 Kurlander (William A. DeStefano appearing) and defendant Alan Abeshaus (Kevin H. Marino

 appearing), for an order granting a continuance of the proceedings in the above-captioned matter

 and for a scheduling order, and the defendants being aware that they have the right to have the

 matter brought to trial within 70 days of the date of their appearance before a judicial officer of

 this court pursuant to Title 18, United States Code, Section 316l(c)(l), and the defendants

 having consented to such a continuance, and for good and sufficient cause shown,


        IT IS THE FINDING OF THIS COURT that this action should be continued for the

 following reasons:


        1.     The matter has been designated as a complex case pursuant to 18 U.S.C.             §
3 l6l(h)(7)(B)(ii) by order dated September 12, 2011 [Dkt. # I 9];


        2.     Defendants have consented to the aforementioned continuance; and


       3.      As a result of the foregoing, the ends of justice serve by granting the continuance
                                  ______




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 outweigh the best interests of the public and the defendants in a speedy trial.


         WHEREFORE, on this                 day of November, 2011,


         IT IS ORDERED that no later than February 13, 2012, Defendants shall file all motions

 that may be brought by way of Fed. R. Crim. P. 12. The Government shall file any responsive

 brief within thirty (30) days of the filing of Defendants’ motion. Defendants shall file any reply

 brief within ten (10) daysfhe fi)ing of the Government’s response. A hearing on the Rule 12

 motions will be held oI//              /      ,20l2.

         IT IS FURTHER(5RDERED that the deadline to serve pretrial motions not otherwise

 provided for above is August 13, 2012. Responsive briefs shall be filed on or before September

 10, 2012. Any reply briefs shaje fi d on or before September 17, 2012. A hearing on the

 pretrial motions will be held onLj             /        ,2012.

         IT IS FURTHER ORDERED that the trial is scheduled for October 1, 2012; and

         IT IS FURTHER ORDERED that this action be, and hereby is, continued until October

 1, 2012, and that the period from the date of this Order through October 1, 2012 shall be

 excludable in computing time under the Speedy Trial Act of 1974.

        IT IS FURTHER ORDERED that the remaining provisions of the Order for Discovery

 and Inspection shall remain in full force and effect.




                                              United States Senior District Judge




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